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 1   Bruce Locke (#177787)
     Moss & Locke
 2   4359 Town Center Blvd., #114-59
     Eldorado Hills, CA 95762
 3   916-719-3194
     Attorneys for Gagik Nersesyan
 4

 5
                          UNITED STATES DISTRICT COURT
 6
                         EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES,                           No. 17-CR-00028 WBS-1
 9
                    Plaintiff,
10
           v.                                 STIPULATION AND PROPOSED
11                                            ORDER TO MODIFY CONDITIONS
     GAGIK NERSESYAN,                         OF RELEASE
12
                    Defendants.
13

14

15         Based upon the recommendation of Darryl Walker of Pretrial Services, it is
16   hereby stipulated between the defendant, Gagik Nersesyan, by and through his
17   undersigned attorney, and the United States, by and through its undersigned
18   attorney, that the conditions of Mr. Nersesyan’s release should be modified to
19   remove the following condition:
20               HOME DETENTION: You must remain inside your
                 residence at all times except for employment; education;
21               religious services; medical, substance abuse, or mental
                 health treatment; attorney visits; court appearances; court
22               ordered obligations; or other activities pre-approved by
                 the pretrial services officer.
23

24   It is further stipulated that the following condition should be added to the
25   conditions of Mr. Nersesyan’s release:
26               CURFEW: You must remain inside your residence every
                 day from 5:00 p.m. to 8:00 a.m., or as adjusted by the
27               pretrial services officer for medical, religious services,
                 employment, or court-ordered obligations.
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                                              1
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 1
     DATED: October 17, 2017                  /s/ Bruce Locke
 2                                            BRUCE LOCKE
                                              Attorney for Gagik Nersesyan
 3

 4
     DATED: October 17, 2017                  /s/ Bruce Locke
 5                                            For JUSTIN LEE
                                              Assistant United States Attorney
 6                                            Attorney for the United States
 7
     IT IS SO ORDERED.
 8
     Dated: October 17, 2017
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